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EXHIBIT A
Affidavit of John D. Clayman

Case 1:10-cv-02055-RMU Document 18-1 Filed 07/29/11 Page 2 of 16

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

AFFINITY FINANCIAL
CORPORATION er al.,

Petitioners,
Vv.

Civil Action No. 10-2055 (RML)

AARP FINANCIAL, INC.,

Smee ee ee ee Oe

Respondent.

AFFIDAVIT OF JOHN D. CLAYMAN

State of Oklahoma = §
§ ss.
County of Tulsa §

I, John D. Clayman, of lawful age and being first duly sworn upon oath, certifies, and
states as follows:

1. I am an attorney, duly admitted to practice before the Courts of the States of
Oklahoma (1986) and Texas (2009) with the firm of Frederic Dorwart, Lawyers. My practice
has consisted almost exclusively related to commercial litigation.

2. I am counsel for Petitioners, Affinity Financial Corporation ef al. (“AFC”). As
such, I am familiar with the facts and circumstances attested to herein, and the statements herein
are based upon personal knowledge and are true and correct.

A I make this Affidavit in support of Petitioners’ Motion for Attorney’s Fees and

Costs that were incurred in successfully litigating this complex civil action against Respondent

AARP Financial, Inc. (“AARP”). Frederic Dorwart, Lawyers took over the case in March of

Case 1:10-cv-02055-RMU Document 18-1 Filed 07/29/11 Page 3 of 16

2010. Each of the attorneys from this firm is rated AV by Martindale-Hubbell. Our firm has
been assisted by Nealon & Associates, P.C. after the Arbitration Award was obtained.

4, AFC seeks the total amount of attorney’s fees and costs associated with this
proceeding:

Breakdown of Attorney’s Fees and Litigation Expenses

No. Description of Item Amount
1 Attorney’s Fees Incurred (76.31 hours) $22,095.38
2 Paralegal Costs Incurred (.83 hours) $83.00
a Litigation Expenses $1031.44
+ Additional Time Anticipated for Preparation of $5000.00
Motion (to be supplemented)
Total $28,209.82
3, From October 28, 2010 through June 30, 2011, AFC’s counsel spent a total of

76.31 hours in briefing and researching AFC’s Petition to Confirm Arbitration Award and
AARP’s Motion to Vacate Award for a total of $22,095.38 in attorney fees. All time charged by
counsel was reasonable and necessary to this litigation, and counsel’s rates are reasonable and
consistent with lawyers of similar ability and experience within the District of Columbia, in
performing similar work. This amounts to an average hourly rate of $289.00, As will be
demonstrated below, the rates charged by counsel for AFC are well within the applicable
parameters of the Laffey Matrix guidelines. '

6. The hourly rate of the attorneys who performed work on behalf of AFC in relation

to the requested attorney’s fees are set forth as follows:

' A true and correct copy of the Laffey Matrix is attached as Exhibit “A-1” and incorporated
herein by reference.

Nw

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Table of Attorney Information

No. Name of Attorney Years of Legal Billing Rate Laffey Matrix

Practice Rate Allowable
I Frederic Dorwart 45 $400.00/$425.00 $734.00
2 J. Michael Medina 36 $300.00 $734.00
a Paul DeMuro 18 $300.00 $609.00
4 John D. Clayman 25 $300.00 $734.00
5 Robert B. Nealon 28 $300.00 $734.00
6 Ulka Patel Shriver 6 $200.00 $374.00

& The hourly rates for each of the attorneys identified in the above-table is well

within the Laffey Matrix guidelines based upon the number of years out of law school for the
applicable attorney.

8. These were the amounts actually billed to AFC.

a Each of the attorneys identified could have devoted his/her time and efforts to
other matters had they not been involved in this litigation.

10. From February 2011 through June 2011, AFC’s counsel’s paralegals spent a total
of 0.83 hours for a total of $83.00 in paralegal fees, which were billed at a rate of $100.00 per
hour. All time charged by counsel’s paralegal was reasonable and necessary to this litigation in
accordance with the Laffey Matrix guidelines that allows paralegals to be billed at the rate of
$166.00 per hour.

11. Based on my more than 25 years’ experience in commercial litigation, the rates
charged by the attorneys and paralegal in this matter are well below the rates charged by
attorneys of similar experience and ability in the District of Columbia for similar work.

12. AARP Financial is represented by a prominent national law firm with hourly rates
that are undoubtedly significantly more than the modest hourly rates of AFC’s counsel.

L3. The fees and expenses sought in the Motion are recorded in contemporaneously-

kept and sufficiently detailed time records,

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14. Redacted time records for the attorneys and paralegal are attached as Exhibit “A-
2” to this Affidavit. The records have been redacted based upon the attorney-client privilege
and the work product doctrine.

15. The total amount of taxable costs is $1,031.44 which consists of the following
categories of taxable costs: (i) $350.00 in filing fees, (ii) $7.28 for postage fees, (iii) $16.80 for
travel/mileage fees, (iv) $1.76 for Pacer Research fees, and (v) $655.60 for Westlaw charges.
All out-of-pocket expenses incurred in this proceeding were reasonable and necessary to this
litigation.

16. _ Petitioners are anticipated to incur an additional $5,000.00 in attorney/paralegal
fees for the preparation and filing of this instant Motion that will be supplemented after the
response filed by AARP Financial.

I state under penalty of perjury under the laws of the State of Oklahoma that the
foregoing is true and correct.

ID Cd —

John D. Clayman

Subscribed and sworn to before me this 29" day of July, 2011, by the above John D.

Clayman.
ET .! QO VO 2 3 iO a

Notary Public

My commission expires:

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EXHIBIT A-1
Laffey Matrix

matrix

1 of 2

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Case 1:10-cv-02055-RMU Document 18-1 Filed 07/29/11 Pa Fl lake etteammmrisenendleer hind

| Years Out of Law School *

Paralegal/
Adjustmt |Law
Year Factor** {Clerk 1-3 4-7 8-10 | 11-19 20+

[6/01/11- 5/31/12 | 1.0352 $166 |$305 [$374 [3540 [$609 [$734
|6/01/10- 5/31/11 | 1.0337 $161 |$294 [$361 [$522 | $589 |$709

|
|
|e/01/09- 5/31/10 | 1.0220 | $155 [s285 [3349 [3505 [$569 [$686
|
|
|

Jero1/os- 5/31/09 | 1.0399 | $152 [$279 [s34z_— [saa [$557 [8671
$146 | $268 | $329 [$475 | $536 | $045
$139 | $255 | $313 | $452 | $509 | $614

| 6/01/07-5/31/08 | 1.0516

| 6/01/06-5/3 1/07 | 1.0256

jeri0s-5/31/06 | 1.0427[ $136 | $249 [$305 | $441 | $497 | S598
e/i/o4-s/3ios [| 1.0455[  $130[ $239 | $293 | $423 $476 | $574
je/i/o3-6/1/04 | 1.0507[ $124 [$228 | $280 [ saos{ S456 [ $549
[e/1/02-5/3103 | 1.0727 [ $118 | $217| $267 | s3ss| $434 $522
Jeioi-s31o2 | 1.0407{ $110] — $203 | $249 | $359 | $404 | $487
[6/1/o0-s/31/01 | 1.0529 | $106 | $195 | $239 | $345 | $388 | $468
J6/1/99-5/31/00 | 1.0491 | si01[ $185 | 8227 | s328[ $369 | saaq
[6/1/98-5/31/99 | 1.0439 | $96 | si76| $216 | $312| $352 [ $424
|6/1/97-5/31/98 | 1.0419 | $92} $169] $207 | s299 | $337 [ $406
|6/1/96-5/31/97 | — 1.0396 | sss | $162 | $198 | $287 | $323] 39389
jeri/95-531/96 | 1.032[ $85 | 15s [ sii | 9276 [ S311 [ $375
Jo194-s/31/95 [| 1.0237 | $82 { sisi | $185 | $267| $301 | $363

The methodology of calculation and benchmarking for this Updated Laffey Matrix has been
approved in a number of cases. See, e.g., McDowell v. District of Columbia, Civ. A. No. 00-594
(RCL), LEXSEE 2001 U.S. Dist. LEXIS 8114 (D.D.C. June 4, 2001); Salazar v. Dist. of Col.,
123 F.Supp.2d 8 (D.D.C. 2000).

* “Years Out of Law School” is calculated from June 1 of each year, when most law students
graduate. “1-3" includes an attorney in his Ist, 2nd and 3rd years of practice, measured from

7/29/2011 10:13 AM

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matrix Case 1:10-cv-02055-RMU Document 18-1 Filed 07/29/11 Pag Fata: wwe laffeymatrix.com/see htm

date of graduation (June 1). “4-7" applies to attorneys in their 4th, 5th, 6th and 7th years of
practice. An attorney who graduated in May 1996 would be in tier “1-3" from June 1, 1996 until
May 31, 1999, would move into tier “4-7" on June 1, 1999, and tier “8-10" on June 1, 2003.

** The Adjustment Factor refers to the nation-wide Legal Services Component of the Consumer

Price Index produced by the Bureau of Labor Statistics of the United States Department of
Labor.

2 of 2 7/29/2011 10:13 AM

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EXHIBIT A-2
Redacted Time Records

Case 1:10-cv-02055-RMU Document 18-1 Filed 07/29/11 Page 10 of 16
FREDERIC DORWART, LAWYERS

BILLING HISTORY REPORT

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DATE EMPLY NAME WiC. T X COMMENT HOURS RATE AMOUNT UP/DOWN AMOUNT
CLIENT CODE 0006609 Waterfield Enterprises Fund [,
PROJECT CODE OO Affinity Financial CorpfAARP
INVOICE NO: 0048040 INVOICE DATE: 10/31/10
REDACTED
System Date: 07/29/2011 / 9:29 am Page: 1

Application Date: 07/31/2011 User: RD / rdudiey

Case 1:10-cv-02055-RMU Document 18-1 Filed 07/29/11 Page 11 of 16

FREDERIC DORWART, LAWYERS

BILLING HISTORY REPORT

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DATE EMPLY NAME Wc. TX COMMENT HOURS RATE AMOUNT UP/DOWN AMOUNT
CLIENT CODE: 0006609 Waterfield Enterprises Fund [,
PROJECT CODE: 0014 Affinity Financial Corp/AARP
INVOICE NO: 0048040 INVOICE DATE: 10/31/10
10/28/10 Fp 00] BOTT 0.60 400,000 240.00 0.00 240.00
Attention to post-award matters with Mr. Clayman
and Mr. DeMure
10/29/10 JDC O01 B TT . . 1.40 300,000 420.00 0.00 420.00
Extensive office conference with Mr. Dorwart and
Mr. DeMuro to discuss handling of arbitration
award; review District of Columbia provisions for
filing of arbitration award, telephone conference
with Mr. Jack McKay regarding status of payment of
award; prepare e-mail to Mr, Mckay regarding same;
prepare e-mail to Mr. Randy Waterfield regarding
same; exchange of e-mails with Mr. Dorwart
regarding District of Columbia counsel.
INVOICE 0048040 FEE TOTALS 2.00 660.00 0.00 660.00
PROJECT CODE: 0014 Affinity Financial Corp/AARP
INVOICE NO: 0048438 INVOICE DATE: 11/30/10
LI/OL/10 IDC O01 B TT 0.20 300.000 60.00 0.00 60.00
Receipt and review of correspondence from the
American Arbitration Association regarding refund
check; prepare e-mail to Mr. Randy Waterfield and
Mr. Rick Brown regarding same; exchange of e-mails
with Mr. Brown regarding same,
11/06/10 FD 001 B TT 0.25 400.000 100.00 0.00 100.00
Multiple emails concerning advice from McKay that
AARP intends to appeal arbitration award,
11/06/10 Ibe O01 B TT 0.40 300,000 120.00 0.00 120.00
Prepare e-mail to Mr. Randy Waterfield regarding
my telephone conference with Mr. Jack McKay;
System Date: 07/29/2011 / 9:29 am Page: 2

Application Date; 07/31/2011

User: RD / rdudiey

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FREDERIC DORWART, LAWYERS

BILLING HISTORY REPORT

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B TT
Prepare e-mail to Mr. Randy Waterfield regarding
ny telephone conference with Mr. Jack McKay,
exchange of multiple c-mails with Mr. Dorwart
regarding same

B TT 0.25
Email to and from Mr. Dorwart and Mr. Clayman
regarding AARP's decision to appeal and
possibility of fees

B TT 0.30
Exchange of e-mails with Mr. Dorwart and Mr.

DeMuro regarding appeal issues for arbitration.

B TT 0.20
Receipt and review of e-mail from Mr. Randy
Waterfield regarding Jim McCrery’s response to the
appeal; telephone conference with Mr. Waterfield
to discuss same.

B TT 0.50
Attention to reduction of award to judgment.

B TT 0.40
Receipt and review of e-mail from Mr. DeMuro
regarding confirmation of award; work on issues
regarding same; attempt to locate DC counsel.

B TT 0.25
Emails with Mr. Clayman regarding confirming award
and procedures related to same

B TT 0.40
Receipt and review of e-mail from Mr. Randy
Waterfield regarding DC counsel; attempt to reach
Mr. Robert Nealon; exchange of e-mails with Mr,
DeMuro regarding same.

B TT 0.30
Work on retention of DC counsel; prepare e-inail to
Mr, Randy Waterfield regarding status.

B TT 1.20
Exchange of e-mails with Mr. DeMuro regarding
arbitration award; extensive telephone conference
with Mr. Bob Nealon regarding issues pertaining to
filing the arbitration award of record, prepare
e-mail to Mr. Nealon regarding same; exchange of
follow up e-mails with Mr. Nealon to follow up
issues; exchange of e-mails with Mc. Dorwart and
Mr. DeMuco regarding appeal issues.

BOTT 0.50
Emails with Mr, Clayman and others related to
application to confirm award.

B TT 0.20
Multiple emails respecting judgment registration.

B TT 0.30
E-mail exchanges with Mr. Randy Waterfield, Mr.
DeMuro and Mr. Bob Nealon regarding confirmation
of arbitration award

B TT 3

Draft and revise Petition to Confirm Arbitration
Award; review applicable federal and District of
Columbia arbitration provisions; finalize drafl;
prepare e-mail to Mr. Waterfield regarding same.

B TT

i
oS

1.00
Westlaw research jurisdictional issue; review
petition

B TT 0.25
Multiple emails regarding petition for judgment on
arbitration award.

B TT 1.00
Edit petition to confinm award; emails to Mr,
Clayman and DC counsel regarding same

B TT 0.40
Conference and emails x3 to Messrs. DeMuro and
Clayman regarding registration of ward and entry
of judgment on award; conference Messrs. DeMuro
and Clayman respecting default judgment injunctive

RATE

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90.00 0.00 90.00

60.00 0.00 60.00

200.00 0.00 200.00

120,00 0.00 120,00

75,00 0.00 75.00

120.00 0.00 120.00

90.00 0.00 90.00

360.00 0.00 360,00

150.00 0.00 150.00

80.00 0.00 80,00
90,00 0.00 90.00

960.00 0.00 960.00

300.00 0.00 300.00

100.00 0.00 100.00
300,00 0.00 300.00

160.00 0,00 160.00

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Application Date: 07/31/2011

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Page: 3
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Case 1:10-cv-02055-RMU Document 18-1 Filed 07/29/11 Page 13 of 16
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WART, LAWYERS

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COMMENT HOURS
Waterfield Enterprises Fund 1,
Affinity Financial Corp/AARP

11/30/10

BOTT 1.20

B TT

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E TT

Review of e-mails and revisions to draft of
Petition 1a Confirm Arbitration Award; complete
revisions Lo same; prepare e-mail to Mr. Bob
Nealon regarding same; receipt and review of
e-mail from Mr. Nealon regarding status; prepare
reply e-mail to Mr. Nealon; exchange of follow up
e-mails with Mr. Nealon.
0,25
Multiple emails regarding fling of petition ta
enforce arbitration award
0.40
Receipt and review of e-mail from Mr. Randy
Waterfield reparding confirmation status, prepare
e-mail to Mr. Bob Nealon regarding samme; receipt
and review of e-mail and attachment from Ms. Ulka
Patel regarding same; review of e-mail from Mr.
DeMuro regarding same.

WESTLAW - RESEARCH JMM

INVOICE 0048438 EXPENSE TOTALS:

INVOICE 0048438 TOTALS: 13.35

INVOICE DATE:

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Affinity Financial Corp/AARP
12/1/10

0.20
Receipt and review afe-mail from Ms. Ulka Patel
regarding filing of the confirmation of the
arbitration award; receipt and review of ¢-mail
from Mr. DeMuro regarding same.

0.40
Exchange of e-mails with Mr. DeMuro, Ms. Wilson
and Mr. Rick Brown regarding corporation
disclosure issues; receipt and review of e-mail
from Ms. Ulka Patel regarding filing of the
petition to confinn,

0.50
Work on confinnation of award in DC; telephone
conference and emails regarding disclosure issues.

0.20
Receipt and review of e-mail and attachment from
Ms. Ulta Shriver regarding case filings;
conference with Mr. DeMuro regarding same

0.75
Review AARP mation to vacate arbitration award;
conference with Mr. DeMuro respecting same and
possible mations for sanctions.

0.50
Receipt and review of e-mail and attachment from
Ms, Ulka Patel regarding AARP's motion to vacate,
receipt and review of e-mail from Mr. DeMuro
regarding same; receipt and review of e-mail from
Ms. Patel regarding same; conference with Mr.
DeMuro to discuss same; receipt and review of
e-mail from Mr. DeMuro regarding research.

Review AARP's motion to vacate arbitration award.

RATE

300.000

400.000

300,000

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300.000

300.000

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400.000

300,900

300.000

WIP
AMOUNT

360.00

100.00

120.00

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BILLED
AMOUNT

0.00 360.00

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4190.00

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System Date: 07/29/2011 / 9:29 am
Application Date: 07/31/2011

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RWART, LAWYERS

BILLING HISTORY REPORT

FREDERIC D

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BT WIP WRITE BILLED
DATE EMPLY NAME Wc. TX COMMENT HOURS RATE AMOUNT UP/DOWN AMOUNT
CLIENT CODE 0006609 Waterfield Enterprises Fund [,
PROJECT CODE 0014 Affinity Financial Corp/AARP
INVOICE NO: 0048833 INVOICE DATE: 12/31/10
12/24/10 FD F. 001 B TT 0.40 400.000 160.00 9.00 160.00
Muluple emails to Mr, DeMuro discussing
strategies for response to motion to vacate
arbitration award.
12/24/10 JDC J, 001 B TT 1.20 300.000 360,00 0.00 360.00
Work on response to motion to vacate; prepare
e-mail to Mr. Dorwart and Mr. DeMuro regarding
communication with panel members; exchange of
e-mails with Mr. Dorwart, Mr. Medina and Mr.
DeMuro regarding appeal issues.
12/24/10 JMM d 001 B TT 1.20 300.000 360.00 0.00 360.00
Westlaw research remand tssue and scope of appeal
issue; teleconference with Mr. Clayman regarding
Sime
12/24/10 PD P 001 BOTT 1.25 300.000 375.00 0.00 375.00
Continue research on response to motion to vacate
AAA award including regarding revised DC
arbitration act; emails to Mr. Medina and local
counsel regarding same.
13/26/10 JMM J. O01 B TT 1.00 300.000 300.00 0.00 300.00
Review 48(c) issue and drafi anolysis
12/26/10 PD P 001 B TT 1,00 300.000 300,00 0.00 300.00
Continue research on response to motion to vacate
AAA award including whether Rule 48 waives
defenses; emails to Mr, Medina regarding same
12/27/10 Fp F. 001 B TT 0.30 400.000 120.00 0.00 120.00
Multiple emails regarding extension of time and
formal of response to motion to vacate.
12/27/10 Jpc J oor 5B TT 0.30 300.000 90.00 0.00 50.00
Receipt and review of e-mail from Ms. Ulka Shriver
regarding motion for extension; receipt and review
of e-mail from Mr. Medina regarding issues
involving motion to vacate; prepare reply e-mail
to Ms. Shriver; receipt and review of e-mail from
Ms. Shriver regarding agreement te extension;
receipt and review of e-mail and attachments from
Ms. Shiriver regarding motion for extension.
12/28/10 JDC J 901 B TT 0.20 300.000 60.00 0.00 60.00
Receipt and review of electronic filings regarding
extension for Affinity Financial response to the
motion to vacate, calendar same
INVOICE 0048833 FEE TOTALS: 11.40 3555.00 0.00 3555.00
12/24/10 FD F WES E TT WESTLAW -RESEARCH JMM 34649 0.00 346.49
12/24/10 FD F WES E TT WESTLAW -RESEARCH JMM 268.17 0.00 268.17
INVOICE 0048833 EXPENSE TOTALS: 614.66 0.00 614.66
INVOICE 0048833 TOTALS: 11.40 4169.66 0.00 4169.66
PROJECT CODE: O04 Affinity Financial Corp/AARP
INVOICE NO: 0049264 INVOICE DATE: OSI/11
OL/O2/11 JBC Ji 001 B TT 0.20 300,000 60.00 0.00 60.00
Receipt and review of e-mail from Mr. DeMura
regarding response to the motion to vacate;
prepare reply e-mail to Mr. DeMuro.
OL/O2411 PD P 001 B TT 0.25 300.000 75.00 0.00 75.00
Continue research on response to challenge to
award relationship between FAA and DAA,
OUST PD P 001 BOTT 0.50 300.000 150.00 0.00 150.00
Work on response to AARP motion to vacate award
emails with local counsel regarding research on
local standard; emails to Mr. Clayman
01/05/11 Jbc a ool B TT 0.40 300.000 120.00 0.00 120.00
Receipt and review of e-mail fram Mr, DeMuro
regarding response to the motion to vacate; work
on same.
Page: 5

System Date: 07/29/2011 / 9:29 am
Application Date: 07/31/2011

User: RD / rdudley

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FREDERIC DORWART, LAWYERS

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TT 0.50
Work on response to AARP motion to vacate; emails
to local counsel regarding DC law

TT 0.40
Exchange of e-marls with Mr. DeMuro and Ms, Ulka
Shriver regarding case status and research,
telephone conference with Ms. Shriver regarding
same,

TT 0.25
Emails to Mass counsel regarding motion to dismiss
hearing.

TT 0.10
Receipt and review of AARP's certificate of
disclosure.

TT 0.50
Emails regarding hearing on motion 10 dismiss
injunctive relief case

TT 5.50
Continue drafting of Affinity Financial's response
to AARP motion to vacate; continue research and
analysis of cases cited by AARP

TT 9.00
Continue drafting of Affinity Financial's response
to AARP motion to vacate; continue research and
analysis of cases cited by AARP, finalize draft;
prepare e-mail to parties for review of same

TT 0.50
Emails with local counsel and Mr. Clayman
regarding brief in response ta mation to vacate
award.

TT 0.50
Conference with Mr. BeMuro and emails x4 to Mr
DeMuro and Ms. Ulka regarding response to motion
to vacate.

TT 1.40
Continue revisions to response to the motion to
vacate; receipt and review of e-mail and
attachment from Mr, DeMuro regarding revisions;
exchange of follow up e-mails with Mr, DeMuro and
Ms. Ulka Patel to finalize and file brief:

TT 1.10
Review response to motion to vacate, make
revisions.

TT 4.00
Edit, research, and redraft sections of brief in
opposition to motion to set aside award and
related emails to local counsel and Mr. Clayman.

TT 0.20
Telephone conference with Ms. Ulka Shriver
regarding briefing matters and oral argument.

Te 0.20
Receipt and review of e-mail from Ms, Ulka Shriver
regarding AARP's request for extension of time to
serve a reply brief; exchange of e-mails with Mr.

DeMuro and Ms, Shriver regarding same; receipt and
review of electronic court filing regarding AARP's
molion to extend,

TT 0.30
Exchange ofe-mails with Mr. DeMuro and Ms. Ulka
Shriver regarding whether or not to seek oral
argument

TT 0.25
Emails regarding request for hearing.

TT 0.40
Receipt and review of electronic filing regarding
Reply to opposition to motion re MOTION to Vacate
Arbitration Award and Opposition to Plaintiff's

RATE

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WIP WRITE BILLED
AMOUNT UP/DOWN AMOUNT

150.00 0.00 150.00

120.00 0.00 120.00

75.00 0.00 75.00

30.00 0.00 30.00

150.00 0.00 150.00

1650.00 0.00 1650.00

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212,50 0,00 212.50

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1200.00 0.00 1200.00

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90.00 0.00 90.00

75,00 0.00 75.00

120.00 0.00 120.00

“System Date: 07/29/2011 / 9:29 am
Application Date: 07/31/2011

Paae: 6
User: RD / rdudley

Case 1:10-cv-02055-RMU Document 18-1 Filed cu ieeeLt Page 16 of 16
REDERIC DORWART, LAWYERS

BILLING HISTORY REPORT

SORTED BY CLIENT CODE
WITH BILLING DETAIL
BT WIP WRITE BILLED
DATE EMPLY NAME W.ic. TX COMMENT HOURS RATE AMOUNT UP/DOWN AMOUNT
CLIENT CODE: 0006609 Waterfield Enterprises Fund I,
PROJECT CODE 0014 Affinity Financial Corp/AARP
INVOICE NO: 0049264 INVOICE DATE: 0131/11
(CONTINUED)
O1/25/11 JBC J vol B TT

Receipt and review of electronic filing regarding
Reply to opposition to motion re MOTION to Vacate
Arbitration Award and Opposition to Plaintiff's
Petition For Confinnation of Arbitration Award and
Entry of Judgment filed by AARP FINANCIAL, INC.
O1/25/1) PD P. 001 B TT 0.50 300.000 150.00 0.00 150.00
Emails with local counsel regarding motion to
dismiss issues.

INVOICE 0049264 FEE TOTALS: 26,95 8147.50 0.00 8147.50

OV3U11 FD F, PAC E TT PACER Research 1.76 0.00 L.76
INVOICE 0049264 TOTALS: 26,95 8149.26 0,00 8149.26
PROJECT CODE 0014 Affinity Financial Corp/AARP
INVOICE NO: 0049670 INVOICE DATE: 03/02/11
O2/15/11 Fp F. 001 B TT 0.20 425.000 85.00 0.00 85.00

Email to Messrs. Clayman and DeMuro discussing
status of petition to register arbitration award.
O2N7/11 IDC I. 001 B TT 0.2) 300.000 60,00 0,00 60.00
Receipt and review of e-mail from Mr. DeMuro
regarding the status of the AARP case; receipt and
review of e-mail from Mr. Randy Waterfield
regarding same.

INVOICE 0049670 FEE TOTALS: 0.40 145.00 0.00 145.00

INVOICE 0049670 TOTALS: 0.40 145.00 0.00 145.00
PROJECT CODE: Oo14 Affinity Financial Corp/AARP
INVOICE NO: 0050105 INVOICE DATE: 04/01/11
03/02/11 Fp # UPS E TT UNITED PARCEL SERVICE 7.28 0.00 7.28
INVOICE 0050105 TOTALS: 0.00 7.28 0.00 7.28
PROJECT CODE: OOL4 Affinity Financial Corp/AARP
INVOICE NO; 0050554 INVOICE DATE: 05/01/11
O4/1B/11 JDC J. 001 B TT 0.20 300.000 60,00 0.00 60.00

Receipt and review of e-mail from Mr. DeMuro
regarding status of AARP appeal; conference with
Mr. DeMuro regarding same.

INVOICE 0050554 TOTALS: 0.20 60.00 0.00 60.00

PROJECT CODE: 0014 Affinity Financial Corp/AARP
INVOICE NO: 0051437 INVOICE DATE: 06/30/11
06/17/11 IBC Ee 001 B TT 0.30 300.000 90,00 0.00 90.00

Receipt and review of e-mail from Ms, Ulka Patel
regarding AARP appeal status; prepare reply e-mail
to Ms. Patel.

INVOICE 0051437 TOTALS: 0.30 90.00 0.00 90.00

REPORT TOTALS: 54,60 17520.38 0.00 17520.38
System Date: 07/29/2011 / 9:29 am Page: 7

Application Date: 07/31/2011 User: RD / rdudley

